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                 IN   THE U NITED S TATES D ISTRICT C OURT
                      F OR THE D ISTRICT OF M INNESOTA



Johnson Brothers Liquor Company,             Case No. 0:11-cv-824 (ADM/JSM)
Johnson Brothers Northwest
Beverages, Inc. d/b/a Ed Phillips &
Sons Co. of North Dakota, Johnson
Brothers Famous Brands, Inc. (d/b/a
Famous Brands and/or Western                         Notice of Appeal
Wholesale),

                  Plaintiffs,
v.

Bacardi U.S.A., Inc., and Brown-
Forman Corporation,

                  Defendants.

      NOTICE IS HEREBY GIVEN that Plaintiffs Johnson Brothers Liquor

 Company, Johnson Brothers Northwest Beverages, Inc. d/b/a Ed Phillips & Sons

 Co. of North Dakota, and Johnson Brothers Famous Brands, Inc. d/b/a Famous

 Brands and/or Western Wholesale hereby appeal to the United States Court of

 Appeals for the Eighth Circuit from the final judgment entered in this action on

 November 17, 2011, and from the order and decisions subsumed in that final

 judgment including but not limited to the order granting Defendant Brown-

 Forman Corporation’s Motion to Dismiss First Amended Complaint and

 dismissing with prejudice Plaintiffs’ Complaint. (ECF Nos. 73, 74.)




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     PLEASE NOTE that Plaintiffs have settled this matter with Defendant

Bacardi U.S.A., Inc.; consequently, this appeal is directed to Defendant Brown-

Forman Corporation.

     The filing of this Notice of Appeal is timely pursuant to Federal Rule of

Appellate Procedure 4 and the District Court’s Order Granting Plaintiffs’ Motion

for Extension of Time to File Notice of Appeal (ECF Nos. 78, 81).


January 18, 2012               Robins, Kaplan, Miller & Ciresi L.L.P.


                               By:     s/ Matthew L. Woods
                                     Elliot S. Kaplan (#53624)
                                     Matthew L. Woods (#205278)
                                     Scott M. Kranz (#0391227)

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                               Attorneys for Plaintiffs Johnson Brothers




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                                 U.S. COURT OF APPEALS - EIGHTH CIRCUIT
                                           APPELLANT’S FORM A                                                 Appeal Docket No.
                                            Appeal Information Form
                                       To be filed with the Notice of Appeal                                 _____________


 STYLE OF CASE:                                                 COUNSEL: NAME, ADDRESS, AND TELEPHONE NUMBER

  Johnson Brothers Liquor Company,                                Elliot S. Kaplan
  Johnson Brothers Northwest Beverages,                           Matthew L. Woods
  Inc. d/b/a Ed Phillips & Sons Co. of North                      Robins, Kaplan, Miller & Ciresi, L.L.P.
  Dakota, Johnson Brothers Famous Brands,                         2800 LaSalle Plaza
  Inc. (d/b/a Famous Brands and/or Western                        800 LaSalle Avenue
                                                                  Minneapolis, MN 55402
             Appellant/Appellee,
                                                                  (612) 349-8500
 vs.


 Brown-Forman Corporation                                       COUNSEL: NAME, ADDRESS, AND TELEPHONE NUMBER

                                                                 Timothy B. Hardwicke
                                                                 Daniel A. Griswold
                                                                 Latham & Watkins LLP
                                                                 233 South Wacker Drive, Suite 5800
           Appellant/Appellee                                    Chicago, IL 606060
                                                                 (312) 876-7700

LIST ISSUES ON APPEAL(For administrative purposes). You may indicate that this also serves as your statement
                                                       ✔
of issues under FRAP 10(b)(3). ________Yes.         _______ No.

  Whether the district court erred by granting Brown-Forman Corporation's Motion to Dismiss First
  Amended Complaint; and
  Whether the district court erred by dismissing Plaintiffs' Complaint with prejudice and without leave
  to amend.

FOR LEAD COUNSEL ONLY
    ✔
I _____ have (_____ have not) discussed settlement possibilities on appeal with my client.
This appeal _____
              ✔   is (_____ is not ) amenable to settlement.


                                                                 s/Matthew L. Woods                                 01/18/2012
                                                  Submitted by: s/ ___________________________________________________
                                                                   Signature of Lead Counsel                     Date

INSTRUCTIONS:
Filing of appellant’s Form A is required to be submitted to the Clerk of the District Court with the Notice of Appeal (8 Cir. Rule
3B). If inadvertenly omitted, appellant may file Form A directly with the Clerk of the Court of Appeals before appeal is
docketed. Forms are available at the District Court Clerk’s Office and may be obtained electronically at:
 www.ca8.uscourts.gov
           Copy 1 - Send to Appellee (together with an uncompleted Form B)
           Copy 2 & 3 - Send to Clerk, District Court with Notice of Appeal or Eighth Circuit (see above)
           Copy 4 - Retain
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                                  Certificate of Service
       I hereby certify that I electronically filed the foregoing document with the Clerk

of the Court by using the CM/ECF system on January 18, 2012, which will send a notice

of electronic filing to the following:


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                                          s/ Matthew L. Woods
                                          Matthew L. Woods
